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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

GLENEAGLES DEVELOPMENT PTE LTD §
and CONTINENTAL HOSPITALS      §
PRIVATE LIMITED,               §
                               §
           Plaintiffs,         §
                               §
v.                             §                                 Civil Action No. 4:17-cv-03138
                               §
THOTA GURUNATH REDDY,          §
                               §
           Defendant.          §

     BRIEF IN SUPPORT OF PLAINTIFFS’ APPLICATION FOR A TEMPORARY
                          RESTRAINING ORDER

       While the dispute between these parties is complex, the issue before this Court is

exceedingly simple. Defendant Thota Gurunath Reddy (“Defendant”) and Plaintiffs Gleneagles

Development Pte Ltd (“Gleneagles”) and Continental Hospitals Private Limited (“Continental,”

and collectively with Gleneagles, “Plaintiffs”) agreed unambiguously and without exception that

they would submit all disputes arising out of their joint investment in an Indian hospital to

binding international arbitration.

       When a dispute arose, Plaintiffs did just that by filing arbitration with the Singapore

International Arbitration Center in accordance with the terms of the Shareholders Agreement

between the parties (the “Arbitration” and the “SHA”). Defendant, however, refused to respect

the Arbitration and has taken numerous steps to frustrate and delay the proceedings. These

include, most egregiously, the initiation of two separate legal actions in India raising issues that

are all squarely within the scope of the arbitration clause of the SHA and undermine its

effectiveness. In the first of these two Indian lawsuits the Indian court has already ruled that the


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disputes are within the scope of the arbitration clause and dismissed the action. This harassing

and vexatious litigation must be stopped.

       This Court has the power to do so. Because this Court has personal jurisdiction over

Defendant, it can issue injunctive relief ordering him to cease his foreign lawsuits that interfere

with the Arbitration.1 Courts have routinely enjoined foreign litigation in situations similar to

here where the foreign litigation “result[s] in ‘inequitable hardship’ and ‘tend[s] to frustrate and

delay the speedy and efficient determination of the cause.’” Kaepa, Inc. v. Achilles Corp., 76

F.3d 624, 627 (5th Cir. 1996) (quoting In re Unterweser Reederei, 428 F.2d 888, 890, 896 (5th

Cir. 1970)). In light of the strong presumption in favor of arbitration, this rule is even more

powerful where, as here, the parties have agreed to arbitrate the disputes raised in the foreign

proceeding. See, e.g., Storm LLC v. Telenor Mobile Communs. AS, 2006 U.S. Dist. LEXIS

90978, at *26 (S.D.N.Y. Dec. 18, 2006) (granting anti-suit injunction and observing that when a

foreign proceeding “[a]ttempts to interfere with arbitration of international disputes . . . little else

is required to authorize an injunction.”).

       As set forth herein, the foreign actions filed by Defendant are vexatious, duplicative, and

serve only to delay adjudication of the dispute on the merits in the agreed upon arbitral forum.

Accordingly, this Court should exercise its broad discretion to issue an anti-suit injunction

ordering Defendant to put an end to this gamesmanship and allow the parties to resolve their

disputes through the pending Arbitration as contractually agreed.




1
 The SHA delegates decision-making power on behalf of the other Minority Shareholders to
Defendant. See SHA § 21.11. Thus, an injunction against Defendant will effectively end this
meritless foreign litigation campaign in its entirety, notwithstanding that the other Minority
Shareholders are not subject to the jurisdiction of this Court.

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                                  FACTUAL BACKGROUND

       The dispute giving rise to the Arbitration and the vexatious Indian litigation centers

around the operation and ownership by Continental of a 350 bed hospital in Hyderabad, India.

Krishnan Decl. ¶ 3. The hospital opened in 2013 and currently serves more than 150,000

patients per year with a broad range of services. Id. Plaintiffs and Defendant have been co-

shareholders in Continental since they entered a series of agreements, including principally the

SHA, on February 18, 2015. Id. ¶ 4 & Exh. A. Through these agreements, Gleneagles acquired

a 51% stake in Continental from a group of then-existing shareholders that included Defendant

and others (collectively, the “Minority Shareholders”). Id. ¶ 4. After this transaction, the

Minority Shareholders retained 49% of the shares of Continental, two of them remained directors

of Continental, and Defendant remained Continental’s Chairman of the Board and a strategic

consultant to the hospital. Id. ¶ 4–5.

       Importantly, the SHA contained a broad arbitration and dispute resolution clause. That

clause covers “any dispute or claim (“Dispute”) of whatever nature arising under, out of or

between the Parties, in connection with or relating to the enforcement, interpretation or

performance of the terms and conditions of this Agreement, or any provision thereof, including

any purported termination or invalidity hereof, or the breach… .” SHA § 19.2. In addition to

requiring pre-filing notification and discussions, it further provided that “[i]f the Dispute is not

resolved through such discussions within thirty (30) Business Days of the Dispute having

arisen, then such Dispute shall be referred to and resolved in accordance with the Singapore

International Arbitration Centre Rules.” SHA § 19.3. To effectuate these clauses, the parties

also agreed in the SHA that “[e]ach Party shall co-operate in good faith to expedite (to the

maximum extent practicable) the conduct of any arbitral proceedings commenced under this



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Agreement.” SHA § 19.4.        Defendant’s disregard for these clauses is the foundation of this

action.

          Continental experienced financial difficulties before the investment by Gleneagles.

Krishnan Decl. ¶ 6. Unfortunately, those difficulties grew after Gleneagles’ share purchase. Id.

Continental therefore sought additional funding in late 2016 to avoid a declaration that its loans

were non-performing assets. Id. ¶ 7–8. Because Continental’s outstanding debt violated certain

covenants in the SHA, it could not obtain third-party funding. Id. ¶ 7. Continental’s Board

therefore approved a Rights Issue in late 2016 as contemplated by the SHA to raise additional

capital from the existing shareholders on a pro rata basis (the “2016 Rights Issue”). Id. ¶ 9.

Gleneagles accepted the 2016 Rights Issue and purchased the additional shares offered. Id. ¶ 10.

Defendant and the other Minority Shareholders did not. Id. ¶ 10.

          Defendant and the other Minority Shareholders unjustifiably resisted the 2016 Rights

Issue, including by sending a Notice of Dispute under the SHA’s dispute resolution clause. Id. ¶

11 & Exh. B. Continental replied to this Notice of Dispute just a week later, rejecting the

allegations, offering several suggestions to resolve the dispute, and acknowledging the

application of the dispute resolution clause of the SHA. Defendant and the other Minority

Shareholders did not reply. Instead, in violation of the arbitration requirement in the very

dispute resolution clause they had just invoked, Defendant and the other Minority Shareholders

then filed a meritless petition against Plaintiffs in the National Company Law Tribunal in

Hyderabad, India on November 25, 2016 seeking, inter alia, a stay of an upcoming Continental

board meeting at which critical resolutions regarding the 2016 Rights Issue and related funding

were to be passed (the “NCLT Petition”). Singh Decl. ¶ 3 & Exh. A.




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       Thus began a series of actions by Defendant and the other Minority Shareholders to

frustrate the 2016 Rights Issue and a subsequent capital call (the “2017 Rights Issue”) and

otherwise harm Continental.2 Id. ¶ 8. Because these actions were in breach of the SHA and

threatened to cause grave harm to Continental, Plaintiffs issued a Notice of Dispute pursuant to

Section 19 of the SHA on December 8, 2016. Krishnan Decl. ¶ 17.

       Defendant and the other Minority Shareholders did not cure their breaches. To the

contrary, they continued to impede the operations of Continental. As a result, Plaintiffs initiated

arbitration under the SHA with the Singapore International Arbitration Centre (“SIAC”) on

January 27, 2017, asserting numerous breaches of the SHA by Defendant and the other Minority

Shareholders, and supplemented those claims on March 14, 2017 (defined above as the

“Arbitration”).3 Goyal Decl. ¶ 3 & Exh. A, B.

       Defendant and the other Minority Shareholders have repeatedly obstructed the progress

of the Arbitration. Specifically, Defendant and the other Minority Shareholders unreasonably

delayed in providing the details of their party-appointed arbitrator to the SIAC.         Id. ¶ 4.

Moreover, Defendant and the other Minority Shareholders filed a meritless challenge to the

appointment of Plaintiffs’ party-appointed arbitrator. Id. ¶ 4. This led to the suspension of the

Arbitration pursuant to SIAC Rule 15.4 and the failure to appoint the third member of the




2
  For the avoidance of doubt, Plaintiffs do not seek redress for these specific breaches in this
action, despite their description in the Complaint which was intended for background purposes.
Instead, Plaintiffs merely seek this Court’s assistance in ensuring the meaningfulness of the
arbitration to which the parties’ expressly agreed in the SHA. Plaintiffs expressly reserve any
and all rights to seek redress for all breaches of the SHA, any other agreement, or any other
violation of law in any appropriate forum.
3
  A true and correct copy of Plaintiffs’ January 27, 2017 Notice of Arbitration is attached as
Exhibit A to the Declaration of Ankit Goyal filed concurrently with this Complaint. A true and
correct copy of Plaintiffs’ March 14, 2017 Notice of Arbitration is attached as Exhibit B to the
Declaration of Ankit Goyal filed concurrently with this Complaint.

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arbitration tribunal. Id. ¶ 5. This has already caused a delay of at least two months in the

constitution of the arbitral Tribunal. Id.¶ 5. That delay grows longer every day.

       While the 2016 Rights Issue was belatedly completed, Defendant’s actions have

prevented the completion of the subsequent 2017 Rights Issue which is needed to provide

additional, much needed funding to Continental. Singh Decl. ¶ 11. In this regard, Defendant and

the other Minority Shareholders filed a civil lawsuit in an Indian District Court September 18,

2017 seeking to restrain Continental from consummating the 2017 Rights Issue (the “Civil

Lawsuit”). 4 Id. ¶ 8 & Exh. B. Defendant and the other Minority Shareholders obtained an ex

parte injunction preventing the capital call upon filing this Civil Lawsuit. Id. ¶ 10. Notably, this

injunction was obtained as a result of Defendant’s failure to disclose in the Civil Lawsuit that (i)

the SHA contained an arbitration clause covering this dispute; and (ii) the NCLT had previously

dismissed the NCLT Petition raising similar issues and compelled the dispute to arbitration (as

discussed below). Id. ¶ 9. While the injunction from the Civil Lawsuit was recently dissolved,

the 2017 Rights Issue has still not been consummated as a result of Defendant’s actions.

Krishnan Decl. ¶ 11, 18. Moreover, Defendant’s past behavior suggests that there is a likelihood

that Defendant and the other Minority Shareholders may seek further relief in the pending Civil

Lawsuit or in another Indian lawsuit if not enjoined from doing so.

       All of the issues raised by Defendant and the other Minority Shareholders in the NCLT

Petition and the Civil Lawsuit are within the scope of the arbitration clause in the SHA and

therefore must be litigated exclusively in the Arbitration. Specifically, all of these claims relate

to the provisions for capital calls set forth in Section 7 of the SHA, a subject squarely within the

four corners of the arbitration agreement.

4
 A true and correct copy of the Complaint in the Civil Action is attached as Exhibit B to the
Declaration of Vijayendra Pratap Singh filed concurrently with this Complaint.

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       Indeed, the NCLT dismissed the NCLT Petition after finding that the claims raised by

Defendant and the other Minority Shareholders therein are within the scope of the arbitration

clause in the SHA.5 Singh Decl. ¶ 4–5 & Exh. A. In so doing, the NCLT was explicit:

               In light of the above facts and circumstances of the case and law as
               discussed above, we are of the considered view that the main
               issues raised in the Company petition [filed by Defendant and
               the other Minority Shareholders] arises primarily out of SHA
               dated 18th February 2015 which contains a valid arbitration
               clause as discussed supra and all the remaining issues are either
               consequential/related/trivial issues, which are not required to be
               considered by this Tribunal and they would entirely depend upon
               adjudication of main issues arises out of alleged violations of
               clauses of SHA. As there is a valid, enforceable, undisputed
               SHA dated 18th February 2015 un-disputably exist between
               the parties, where an arbitration clause is available, it is
               mandatory for this Tribunal to refer the parties to Arbitration
               under SIAC Rules, and the parties are at liberty to file final
               claims/please before Singapore Arbitration Tribunal.
               Singh Decl. ¶ 6 & Ex. A ¶ 23 (emphasis added).

       Defendant’s and the other Minority Shareholders’ actions in the NCLT Petition and the

Civil Lawsuit have frustrated the Arbitration and harmed Plaintiffs in multiple ways. First,

Defendant and the Minority shareholders seek relief from the Indian courts that is duplicative of

the issues in the Arbitration. Second, Plaintiffs have been forced to defend these lawsuits in

Indian courts, despite the unambiguous agreement to arbitrate all disputes. This has caused

additional and unjustified expense to Plaintiffs and distraction from the merits of the Arbitration.

Moreover, continuation of the Civil Lawsuit 6 risks further harm to the Arbitration through

continued distraction, expense, and potential future injunctive relief from the Indian courts.



5
  A true and correct copy of the Order from the NCLT dated April 20, 2017 is attached as
Exhibit A to the Declaration of Vijayendra Pratap Singh filed concurrently with this Complaint.
6
  Plaintiffs do not at this time seek to enjoin the NCLT Petition because that Indian Action has
been dismissed in its entirety, subject to an appeal by Defendant. Plaintiffs reserve all rights to
seek injunctive relief related to the NCLT petition if and when the need arises.

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       Moreover, the Civil Lawsuit specifically has led to delay in consummating the capital call

that it critical to the survival of Continental. Continued prosecution of this meritless lawsuit may

lead to the designation of Continental as a “non-performing asset” by its lenders, as per the

criteria specified by the Federal Reserve Bank of India, triggering severe consequences under

Indian law. Krishnan Decl. ¶ 19; Singh Decl. ¶ 12. If the Civil Lawsuit and other Indian

proceedings are allowed to continue, there is a very real risk that Defendant will take further

actions to frustrate the much needed capital call.

       To stop this vexatious and duplicative litigation, Plaintiffs were forced to file this action

and seek this TRO enjoining Defendant7 from further prosecuting the NCLT Petition, the Civil

Lawsuit and any other foreign actions raising issues within the scope of the arbitration clause in

the SHA.

                                     LEGAL ARGUMENTS

       Federal Rule of Civil Procedure 65(b) allows this Court to issue a Temporary Restraining

Order 8 to prevent irreparable harm. See FED. R. CIV. P. 65(b). 9 This includes an anti-suit



7
  Plaintiffs refer herein to Defendant and certain other Minority Shareholders of Continental who
are also parties to the SHA, the Arbitration, and the Indian proceedings. Plaintiffs do not seek to
directly enjoin these other parties in this action because, to the best of Plaintiffs’ knowledge, they
are not subject to the jurisdiction of this Court. Therefore, the request for relief herein is directed
only at Defendant, and those entities he controls, because Defendant is subject to the jurisdiction
of this Court. Notably, the SHA specifically provides that the collective group of Minority
Shareholders shall exercise their rights under the SHA only through Defendant. See SHA § 21.1.
In other words, Defendant controls the actions of all of the Minority Shareholders as they relate
to the disputes with Plaintiffs.
8
  As indicated in the Complaint, Plaintiffs are willing to post a bond in an amount determined to
be appropriate by the Court. However, Plaintiffs respectfully submit that the Court should
exercise its discretion to not require a bond here for this anti-suit TRO because there is no real
risk of any harm to Defendant from being prevented from pursuing meritless foreign litigation in
violation of an agreement to arbitrate he freely entered. The Fifth Circuit has confirmed
unambiguously that a court has the discretion to enter an anti-suit injunction without a bond. See
Kaepa, 76 F.3d at 628 (“In holding that the amount of security required pursuant to Rule 65(c)
‘is a matter for the discretion of the trial court,’ we have ruled that the court ‘may elect to require

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injunction. “It is well-settled among the circuit courts—including [the Fifth Circuit]—which

have reviewed the grant of an antisuit injunction that the federal courts have the power to enjoin

persons subject to their jurisdiction from prosecuting foreign suits.” Kaepa, 76 F.3d at 626; see

also Bethell v. Peace, 441 F.2d 495, 498 (5th Cir. 1971); Allendale Mut. Ins. Co. v. Bull Data

Sys., Inc., 10 F.3d 425, 431 (7th Cir. 1993) (“Courts of equity have long issued injunctions

against the use of litigation, including litigation in foreign courts, not to obtain a decision on the

merits but to harass a party.”).

       In considering such injunctions, “[t]he Fifth Circuit . . . weighs ‘the need to prevent

vexatious or oppressive litigation and to protect the court’s jurisdiction against the need to defer

to principles of international comity.” Commercializadora Portimex S.A. De Cv v. Zen-Noh

Grain Corp., 373 F. Supp. 2d 645, 649 (E.D. La. 2005) (granting anti-suit injunction barring

litigation in Mexico) (internal quotations and citations omitted). But because the Fifth Circuit,

along with the Seventh and Ninth Circuits, follows the “liberal approach” to anti-suit injunctions,

the weight given to comity, and thus the burden to obtain an anti-suit injunction, is considerably

lower. See, e.g., Younis Brothers & Co., Inc. v. Cigna Worldwide Ins. Co., 167 F. Supp. 2d 743,


no security at all.’ Thus, the district court did not violate Rule 65(c) by failing to compel Kaepa
to post a bond.”) (quoting Corrigan Dispatch Co. v. Casa Guzman, 569 F.2d 300, 303 (5th Cir.
1978)).
9
  Because a foreign anti-suit injunction is a “particular subspecies of preliminary injunction,” the
Fifth Circuit has held that “the suitability of such relief ultimately depends on considerations
unique to antisuit [sic] injunctions” and not the traditional factors for injunctive relief. Karaha
Bodas Co. v. Perusahaan Pertambangan Minyak Dan Gas Bumi Negara, 335 F.3d 357, 364 (5th
Cir. 2003). Thus, courts granting an anti-suit injunction or TRO generally apply the specialized
test discussed herein instead of the standard test for general injunctive relief. See, e.g., Kaepa,
76 F.3d 624 (affirming anti-suit injunction without discussion of traditional injunctive relief
factors); InterDigital Tech. Corp. v. Pegatron Corp., 2015 U.S. Dist. LEXIS 85116, at *28 (N.D.
Cal. June 29, 2015) (noting that “in each of the Ninth Circuit’s recent anti-suit injunction
decisions, the Ninth Circuit only addressed the three anti-suit injunction factors” in affirming
anti-suit injunctions). Accordingly, this brief focuses on the anti-suit injunction test and not the
general test for equitable relief. In any event, the general equitable relief factors would be
satisfied were they to apply.

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745 (E.D. Pa. 2001) (comparing the “liberal approach” adopted by the Fifth, Seventh and Ninth

Circuits with the “restrictive approach” followed by the D.C., Second and Sixth Circuits).

       Comity issues aside, “[a]n injunction against the prosecution of a foreign lawsuit may be

appropriate when the foreign litigation would: (1) frustrate a policy of the forum issuing the

injunction; (2) be vexatious or oppressive; (3) threaten the issuing court’s in rem or quasi in rem

jurisdiction; or (4) cause prejudice or offend other equitable principles.” Zen-Noh Grain Corp.,

373 F. Supp. 2d at 649 (citing Kaepa, 76 F.3d at 627 n.9 and In re Unterweser Reederei, 428

F.3d at 890); see also, e.g., Home Healthcare Aff. of Miss., Inc. v. N. Am. Indem. N.V., 2003 U.S.

Dist. LEXIS 25118 (N.D. Miss. Aug. 8, 2003) (granting anti-suit injunction to stop duplicative

litigation in Belgium). Notably, this test is disjunctive—only one factor need be present to

justify an anti-suit injunction.

       The case for an anti-suit injunction is strengthened where, as here, “a party initiates

foreign proceedings ‘in an attempt to sidestep arbitration.’” Laif X Sprl v. Axtel SA de C.V., 390

F.3d 194, 199 (2d Cir. 2004) (quoting Paramedics Electromedicina Comercial, Ltda. v. GE Med.

Sys. Info. Techs., Inc., 369 F.3d 645, 654 (2d Cir. 2004)). Although it applied the more stringent

Second Circuit test, Amaprop Ltd. v. Indiabulls Fin. Servs. is instructive. See 2010 U.S. Dist.

LEXIS 27117 (S.D.N.Y. March 23, 2010). There, a dispute arose among a group of shareholders

about their rights under a shareholders agreement containing an arbitration clause requiring the

arbitration of all disputes. Id. at *3–*4. Plaintiffs commenced an international arbitration under

the agreement. Id. at *6. Defendants made an initial appearance in the arbitration seeking

additional time to answer, but agreed that they would still select an arbitrator. Id. Just before

their answer was due in the arbitration, however, Defendants sought and received injunctions

from Indian courts preventing the arbitration. Id. at *8. Plaintiffs filed an action in the Southern



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District of New York seeking to compel arbitration and enjoin the Indian proceedings. Id. at *8–

*9.

       The court granted both motions. First, it held that the dispute brought to the Indian courts

was clearly within the scope of the arbitration clause of the shareholders agreement and thus

compelled arbitration. Id. at *13. The court similarly granted the anti-suit injunction. In so

doing, it recognized that the parties were the same and resolving the anti-suit injunction issue

was likely to resolve the foreign litigation that fell within the scope of the arbitration clause. Id.

at *15–*17.     The court next applied the multi-factor Second Circuit test and examined

international comity. Relevant here, the court found that the Indian proceedings “derailed the

arbitration proceedings the parties agreed to in the Agreement and frustrated U.S. policy favoring

enforcement of arbitration agreements.” Id. at *18–*19. The court further found that the foreign

proceedings were vexatious because Defendants agreed to cooperate in the arbitration, but then

sought relief from the Indian courts that frustrated the arbitration. Id. at *20. Finally, the court

concluded that the duplicative proceedings led to additional expense, delay, and a risk of

potentially inconsistent judgments. Id. at *22–*25. Because the court found that these risks

outweighed international comity concerns, it granted the anti-suit injunction. Id. at *27.

       The Indiabulls court is far from alone in granting an anti-suit injunction to protect an

arbitration from a duplicative foreign litigation. Courts routinely do just that. See also, e.g.,

InterDigital Tech. Corp. v. Pegatron Corp., 2015 U.S. Dist. LEXIS 85116 (N.D. Cal. June 29,

2015) (granting anti-suit injunction against foreign proceedings in favor of arbitration); Storm

LLC v. Telenor Mobile Commc’ns AS, 2006 U.S. Dist. LEXIS 90978 (S.D.N.Y. Dec. 18, 2006)

(same); Newbridge Acquisition I v. Grupo Corvi, 2003 U.S. Dist. LEXIS 55 (S.D.N.Y. Jan. 6,

2003) (same).



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        Defendant here should not be entitled to use the Indian judicial system to sidestep the

arbitration to which he agreed. He should fare no better than the defendants in Indiabulls and the

numerous other cases where attempts to frustrate arbitration through foreign lawsuits were

enjoined. This Court, like many before it, should exercise its discretion to issue the anti-suit

TRO.

  I.    The Indian Actions Frustrate the Strong U.S. Policy In Favor of Arbitration

        Federal policy strongly favors the enforcement of arbitration agreements.         See, e.g.,

AT&T Mobility LLC v. Concepción, 563 U.S. 333, 346 (2011) (“[O]ur cases place it beyond

dispute that the FAA was designed to promote arbitration. They have repeatedly described the

Act as embodying a national policy favoring arbitration, and a liberal policy favoring arbitration

agreements . . . .”) (internal citations and quotations omitted); Arcinaga v. Gen. Motors Corp.,

460 F.3d 231, 234 (2d Cir. 2006) (“[I]t is difficult to overstate the strong federal policy in favor

of arbitration, and it is a policy we have often and emphatically applied.”) (internal citations and

quotations omitted). This presumption in favor of arbitration “applies with particular force in

international disputes.” Paramedics Electromedicina Comercial, Ltda., 369 F.3d at 655 (citing

Mitsubishi Motors Corp. v. Soler Chrysler-Plymouth, Inc., 473 U.S. 614, 638–40 (1985))

(affirming grant of anti-suit injunction against foreign proceedings brought in violation of

arbitration agreement and imposition of sanctions on party who failed to dismiss foreign action

in favor of arbitration).

        The disputes raised by Defendant and the other Minority Shareholders in the Indian

actions interfere with this strong policy in favor of international arbitration by re-litigating the

same issues in an improper forum. Indeed, one court granting an anti-suit injunction to protect a

pending arbitration has noted that, even under the Second Circuit’s higher standard, where there



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are “[a]ttempts to interfere with arbitration of international disputes . . . little else is required to

authorize an injunction.” Telenor, 2006 U.S. Dist. LEXIS 90978, at *26.

        Because the Indian proceedings interfere with the pending Arbitration, this factor is

satisfied. This alone justifies the grant of the anti-suit TRO.

 II.    The Indian Actions are Oppressive and Vexatious

        An anti-suit injunction is appropriate when “‘allowing simultaneous prosecution of the

same action in a foreign forum thousands of miles away would result in inequitable hardship and

tend to frustrate and delay the speedy and efficient determination of the cause.’” Kaepa, 76 F.3d

at 626–27 (quoting In re Unterweser Reederei, 428 F.2d at 890, 896). In considering whether

foreign proceedings are vexatious or oppressive, the Fifth Circuit has examined the following

interrelated factors: “(1) inequitable hardship resulting from the foreign suit; (2) the foreign

suit’s ability to frustrate and delay the speedy and efficient determination of the cause; and

(3) the extent to which the foreign suit is duplicitous of the litigation in the United States [sought

to be protected]” (or in this case, the arbitration). Zen-Noh Grain, 373 F. Supp. 2d at 649 (citing

Karaha Bodas, 335 F.3d at 366); see also Home Healthcare, 2003 U.S. Dist. LEXIS 25118, at

*7. Each of these factors is present here.

           a. The Indian Lawsuits Cause Inequitable Hardship and Prejudice

        Requiring litigation in India despite the arbitration agreement in the SHA is inequitable

because it denies Plaintiffs the benefit of their bargain and subjects Plaintiffs to irreparable harm

that can only be prevented by enforcing the arbitration clause. See InterDigital, 2015 U.S. Dist.

LEXIS 85116, at *30–*31 (“the inability to enforce a valid forum selection clause constitutes

irreparable harm . . . .”); Seattle Totems Hockey Club, Inc. v. Nat’l Hockey League, 652 F.2d

852, 855 (9th Cir. 1981) (quoting In re Unterweser, 428 F.2d at 896) (“allowing simultaneous



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prosecution of the same action in a foreign forum thousands of miles away would result in

‘inequitable hardship’”). Relatedly, the continuation of proceedings in India will further delay

the speedy and efficient resolution of the Arbitration.

       Finally, the Indian proceedings have caused and will continue to cause concrete harm to

Continental and Gleneagles by delaying and frustrating the capital call from the 2017 Rights

Issue that is necessary to ensure the continued operation of the company. Krishnan Decl. ¶ 19;

Singh Decl. ¶ 12. Defendant has already once obtained an unwarranted injunction stopping the

2017 Rights Issue. Singh Decl. ¶ 10. And notwithstanding that this injunction was recently

dissolved, the second capital call has not yet been consummated. Krishnan Decl. ¶ 18; Singh

Decl. ¶ 11. This delay in critical funding has already caused significant harm to Plaintiffs. And

if the Indian actions are allowed to continue, it is likely that Defendant will further delay the

capital call and sorely needed funding with further meritless submissions. This is inequitable

and irreparable harm that can be prevented only through the requested anti-suit TRO.

           b. The Indian Lawsuits Frustrate               and   Delay   Speedy   and   Efficient
              Determination of This Dispute
       “Parties enter into binding arbitration clauses—particularly in the international setting—

precisely in order to avoid . . . costs and inconvenience.” Indiabulls, 2010 U.S. Dist. LEXIS

27117, at *24. The maintenance of foreign proceedings and Defendant’s other efforts to impede

the arbitration have already led to considerable delay and expense. Indeed, the Arbitration has

been pending since January 2017 and the Tribunal still has not been constituted. Goyal Decl. ¶

5. There is every reason to believe that Defendant and the other Minority Shareholders will

continue to delay the Arbitration if not prevented from doing so.

       Moreover, the multiple proceedings have and will continue to cause extreme inefficiency.

Plaintiffs are now forced to litigate in multiple forums under different sets of laws and


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procedures, notwithstanding the clear agreement to arbitrate in the SHA. This has required the

retention of counsel in India, in addition to arbitration counsel in Singapore and now counsel in

the United States to seek this TRO. This is a needless duplication of expense and resources that

is sure to continue if Defendant is not enjoined from further Indian actions.

          Finally, Plaintiffs are also at risk of contradictory rulings on the same issues from the

Indian courts and the arbitration Tribunal (if Defendant stops his obstruction and it is ever

constituted). This Court, like the court in Indiabulls, should not hesitate to grant the anti-suit

TRO to enjoin the Indian proceedings brought to frustrate the arbitration. See, e.g., Indiabulls,

2010 U.S. Dist. LEXIS 27117, at *20 (observing that party behaved in bad faith by seeking

injunctive relief from Indian courts despite pending arbitration covering the disputes).

            c. The Indian Lawsuits Are Duplicative of the Arbitration

         There can be no debate that the Indian Lawsuits relate to precisely the same issues raised

in the Arbitration and covered by the arbitration clause in the SHA—the procedures and rights

related to a capital call under the SHA. Indeed, the Indian court has already concluded as much,

dismissing the NCLT proceedings and compelling arbitration. In so doing, the Indian court was

clear:

                In light of the above facts and circumstances of the case and law as
                discussed above, we are of the considered view that the main
                issues raised in the Company petition [filed by Defendant and
                the other Minority Shareholders] arises primarily out of SHA
                dated 18th February 2015 which contains a valid arbitration
                clause as discussed supra and all the remaining issues are either
                consequential/related/trivial issues, which are not required to be
                considered by this Tribunal and they would entirely depend upon
                adjudication of main issues arises out of alleged violations of
                clauses of SHA. As there is a valid, enforceable, undisputed
                SHA dated 18th February 2015 un-disputably exist between
                the parties, where an arbitration clause is available, it is
                mandatory for this Tribunal to refer the parties to Arbitration


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                under SIAC Rules, and the parties are at liberty to file final
                claims/please before Singapore Arbitration Tribunal.
                Singh Decl. ¶ 6 & Ex. A ¶ 23 (emphasis added).
        There can be no better evidence of this issue of Indian law10 (which governs the SHA),

than the ruling of the NCLT Tribunal on this very issue. Despite the clear ruling in India,

Defendant persists nevertheless, including through an appeal of the finding that the arbitration

clause in the SHA covers their claims. Singh Decl. ¶ 4. This Court should reach the same result

as the NCLT Tribunal in India. The claims raised in the Indian actions are covered by the

arbitration agreement and because the Indian proceedings are therefore duplicative, an anti-suit

injunction is justified.

III.    An Anti-Suit Injunction Does Not Offend International Comity

        As noted above, “the Fifth Circuit has rejected the approach taken by some other circuits,

which ‘elevates principles of international comity to the virtual exclusion of all other

considerations.’” Zen-Noh Grain Corp., 373 F. Supp. 2d at 649 (quoting Kaepa, 76 F.3d at 627).

Thus, as explained by the leading Fifth Circuit case, the Fifth Circuit will not “require a district

court to genuflect before a vague and omnipotent notion of comity every time that it must decide

whether to enjoin a foreign action.” Kaepa, 76 F.3d at 627. Comity is very rarely at issue where

“no public international issue is implicated by the case.” Id.

        That is precisely the case here. Unlike cases where courts have placed greater weight on

comity, there is no public international issue like the involvement of a foreign sovereign or

possible disruption of an international treaty regime. Compare Karaha Bodas, 335 F.3d at 372–

74. To the contrary, as in Kaepa, this is a “private party engaged in a contractual dispute with

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   “In determining foreign law, the court may consider any relevant material or source, including
testimony, whether or not submitted by a party or admissible under the Federal Rules of
Evidence.” FED. R. CIV. P. 44.1. The ruling of an Indian court on the precise issue of foreign
law before this Court certainly qualifies as competent evidence of foreign law under Rule 44.1.

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another private party.” Kaepa, 76 F.3d at 627; see also Home Healthcare, 2003 U.S. Dist.

LEXIS 25118, at *8. Thus, this Court, like the courts in Kaepa and Home Healthcare, should

not hesitate to grant the ant-suit TRO to enjoin the Defendant’s duplicative and vexatious foreign

litigation.

                                         CONCLUSION

        For the foregoing reasons, Plaintiffs respectfully request that the Court grant their

Application for a Temporary Restraining Order restraining Defendant’s foreign litigation and

award them any and all further relief to which they are justly entitled.

        Dated October 17, 2017




                                                      Respectfully submitted,


                                                      _/s/ Mark D. Taylor__________________
                                                      Mark D. Taylor
                                                      State Bar No. 19713250
                                                      E-Mail: mark.taylor@bakermckenzie.com
                                                      Nicholas O. Kennedy
                                                      State Bar No. 24087841
                                                      E-Mail:
                                                      nicholas.kennedy@bakermckenzie.com

                                                      BAKER & MCKENZIE LLP
                                                      2300 Trammell Crow Center
                                                      2001 Ross Avenue
                                                      Dallas, TX 75201
                                                      Telephone: +1 214 978 3000
                                                      Facsimile: +1 214 978 3099

                                                      ATTORNEYS FOR PLAINTIFFS
                                                      GLENEAGLES DEVELOPMENT PTE
                                                      LTD and CONTINENTAL HOSPITALS
                                                      PRIVATE LIMITED



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